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6                                    UNITED STATES DISTRICT COURT
7                                      DISTRICT OF NEVADA, NEVADA
8
     ABADJIAN, SOSSY, et al.,
9                                                              Case No. 2:18-cv-02321-JCM-NJK
                             Plaintiffs,
10           v.
                                                                    PLAINTIFFS’ CERTIFICATE OF
11 TEVA PARENTERAL MEDICINES, INC.,                                    INTERESTED PARTIES
   formerly known as SICOR
12 PHARMACEUTICALS, INC.; SICOR, Inc., a
   Delaware Corporation; BAXTER
13 HEALTHCARE CORPORATION, a Delaware
   Corporation; McKESSON MEDICAL-
14 SURGICAL INC., a Delaware
   Corporation.
15
                             Defendants
16
             Pursuant to LR 7.1-1, the undersigned, local counsel for Plaintiffs, certifies that no other parties
17
     have an interest in the outcome of this case.
18

19           These representations are made to enable judges of the Court to evaluate possible

20   disqualification or recusal.
21
                                                     GLEN LERNER INJURY ATTORNEYS
22

23                                                   By:     /s/ Glen J. Lerner
24
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